2 Defendants
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                                          MINUTE ORDER                                                   Page 1

                               Magistrate Judge Jonathan Goodman
       Wilkie D. Ferguson, Jr. Courthouse - Courtroom 13-3                      Date:6/13/23        Time 3:00 p.m.
Defendant: 1) DONALD J. TRUMP                 J#: Summons      Case #: 23-80101-CR-CANNON
AUSA: David Harbach, Jay Bratt, & Julie Edelstein Attorney: Todd Blanche (Pro hac vice) & Christopher Kise (PERM)
Violation: Willful Retention of Natl Defense Info, Consp to   Surr: 6/13/23    YOB: 1946
           Obstruct Justice, Withholding a Document or Record

Proceeding: Initial Appearance/ Arraignment                         CJA Appt:
Bond/PTD Held:                          Recommended Bond:
Bond Set at: STIP-Personal Recognizance Release                     Co-signed by:
      Surrender and/or do not obtain passports/travel docs                Language: English
      Report to PTS as directed/or            x’s a week/month by         Disposition:
      phone:          x’s a week/month in person                          Brady Order given. Defense Counsel
      Random urine testing by Pretrial
      Services                                                            stated in open court that they will be
      Treatment as deemed necessary                                       filing a permanent appearance in the
      Refrain from excessive use of alcohol                               case. Defendant Arraigned. Reading of
      Participate in mental health assessment & treatment                 Indictment Waived. Not Guilty plea
      Maintain or seek full-time employment/education                     entered. Jury Trial demanded. Standing
      No contact with victims/witnesses, except through counsel           Discovery Order requested. Both sides
      No firearms                                                         stipulate to a Personal Recognizance
      Not to encumber property                                            Release- Standard Conditions of the

      May not visit transportation establishments                         Bond 1 & 5 imposed. Special Condition:
      Home Confinement/Electronic Monitoring and/or                       Fact witnesses on the list provided by
      Curfew          pm to           am, paid by                         the Government – No Communication
      Allowances: Medical needs, court appearances, attorney visits,      about the facts of the case, except
      religious, employment
                                                                          through counsel.
      Travel extended to:
                                                                            Time from today to ________ excluded
      Other:                                                                from Speedy Trial Clock
NEXT COURT APPEARANCE       Date:          Time:           Judge:                          Place:
Report RE Counsel:
PTD/Bond Hearing:
Prelim/Arraign or Removal:
Status Conference RE:
      Stephanie McCarn, Court Reporter                              Time in Court: 35 mins.
                           s/Jonathan Goodman                                            Magistrate Judge
